Case 1:11-cv-07550-GBD-SN Document 320-7 Filed 02/22/20 Page1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

a x
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :

MOTION TO PERMIT
ATTACHMENT AND
EXECUTION PURSUANT
TO 28 U.S.C. §1610(c)

03 MDL 1570 (GBD) (SN)

This Document Relates to
Hoglan, et al. v. Iran, et al.
1:11-cv-07550 (GBD) (SN)

EXHIBIT F

Case 1:11-cv-07550-GBD-SN Document 320-7 Filed 02/22/20 Page 2 of 3
Case 1:11-cv-07550-GBD-SN Document 293 Filed 0

USDC SDAY
DOCUMENT }
ELECTRONICALLY FILED IF
UNITED STATES DISTRICT COURT DOC é: i
SOUTHERN DISTRICT OF NEW YORK x DATE FILED: 01 i0772019
In re:
1:03 MDL 1570 (GBD)(SN)
TERRORIST ATTACKS ORDER
ON SEPTEMBER 11, 2001
xX

This document relates to:

Hoglan et al., v. Iran, et al., 1:11-CV-07550 (GBD)(SN).

SARAH NETBURN, United States Magistrate Judge:

The Hoglan Plaintiffs filed a Motion for Issuance of Letters Rogatory. Upon
consideration of the Plaintiffs’ Motion, and the accompanying Memorandum of Law and
exhibits, it is hereby ORDERED and DECREED that Plaintiffs’ Motion is GRANTED.

This Court directs the Clerk of Court to issue Letters Rogatory directed to the Islamic
Republic of Iran, substantially similar in form to that attached as EXHIBIT A to Plaintiffs’
Motion, requesting assistance in serving the Final Order and Judgment On Compensatory
Damages issued by this Court, and the necessary accompanying documents, upon the
following Defendants: (1) Ayatollah Ali Hoseini Khamenei, Supreme Leader of Iran; (2) Ali
Akbar Hashemi Rafsanjani, Chairman, Expediency Discernment Counsel and former President
of Iran; (3) National Iranian Tanker Corporation; (4) National Iranian Oil Corporation; (5)
National Iranian Gas Corporation; (6) National Iranian Petrochemical Company; (7) Iran
Airlines; and, (8) Hezbollah.

The Letters Rogatory and the accompanying legal documents, including the

translations, related to the Final Order and Judgment On Compensatory Damages in this case

Case 1:11-cv-07550-GBD-SN Document 320-7 Filed 02/22/20 Page 3 of 3
Case 1:11-cv-07550-GBD-SN Document 293 Filed 01/07/19 Page 2 of 2

shall be transmitted to the U.S. Department of State for delivery to the appropriate judicial
authority of the Islamic Republic of Iran, pursuant to §1608(b)(3)(A).
The Clerk of Court is respectfully directed to terminate the motions at ECF Nos. 4184

(03-MDL-01570) and 282 (11-CV-07550).

SO ORDERED

fl Mer—

January 7, 2019 SARAH NETBURN
New York, New York United States Magistrate Judge

